Case 1:17-cv-02989-AT Document 1277-1 Filed 01/25/22 Page 1 of 3

From: Cary Ichter Clchter@IchterDavis.com &
Subject: RE: 17-cv-02989-AT Curling et al v. Raffensperger et al
Date: January 23, 2022 at 2:48 PM
To: Bryan Tyson btyson@taylorenglish.com, Amanda Bradley Amanda_Bradley@gand.uscourts.gov, Cross, David D.
DCross@mofo.com, Gavin Palmer Gavin_Palmer@gand.uscourts.gov, Carey Miller carey.mifler@robbinsfirm.com,
Alexander Denton Alexander.Denton@robbinsfirm.com, bbrown@brucepbrownlaw.com, Bryan Jacoutot
bjacoutot@taylorenglish.com, Brian Lake Brian.Lake@robbinsfirm.com, cheryl.ringer@fultoncountyga.gov,
david.lowman@fultoncountyga.gov, Dal Burton dburton@taylorenglish.com, Diane LaRoss dlaross@taylorenglish.com,
Elson, Hannah R. HElson@mofo.com, hknapp@khlawfirm.com, James Balli jballi@taylorenglish.com, Josh Belinfante
Josh.Belinfante@robbinsfirm.com, Jonathan Crumly jcrumly@taylorenglish.com, Javier Pico-Prats
javier.picoprats@robbinstirm.com, kaye.burwell@fultoncountyga.gov, Loree Anne Paradise Iparadise@taylorenglish.com,
Melanie Johnson melanie.johnson@robbinsfirm.com, Kaiser, Mary MKaiser@mofo.com, ram@lawram.com,
sparks@khlawtirm.com, Ascarrunz, Veronica VAscarrunz@mofo.com, Vincent Russo vrusso@robbinsfirm.com,
Conaway, Jenna B. JConaway@mofo.com
Ce: Harry Martin Harry_Martin@gand.uscourts.gov

 

Ms. Bradley: The purpose of this message is to respond briefly to Mr. Tyson’s email of 4:59 pm on
Friday evening. Mr. Tyson complains that the Coalition Plaintiffs have expanded the scope of the
topics for the Secretary’s Rule 30(b)(6) witness and that the recent notice with additional topics was
“the first time the Coalition had sent topic separately from Curling Plaintiffs.” Mr. Tyson went on to
say that the State Defendants understood Plaintiffs would be conducting a joint deposition and do not
intend to permit multiple 30(b)(6) depositions in the same case.

We disagree with Mr. Tyson’s underlying premise. For the most part, the amended notice more
precisely defines topics that were more generally described in the initial notice. That was done to
better enable all the parties to prepare for the deposition. If that more detailed description of topics
requires the State to dedicate more time to preparing designees, that is not the fault of the Coalition.
The Coalition Plaintiffs did not receive certain critical data and documents until December 8, 2021,
after asking for it for more than six months. Indeed, the State had blocked the Coalition Plaintiffs
efforts to receive certain of the electronic election records, including critical cast vote records, for
months. The State finally dropped its objection at the November 19, 2021 hearing, and then Fulton
County delayed the submission to the Court of a joint request that those records be produced.

The Court issued the Order on December 3™ (Doc. 1239), and while Fulton then provided important
(but incomplete) supplemental records, they have still failed to provide at least 20,000 electronic
records covered by the Court's order. Fulton claims they transmitted the complete records to the
Secretary of State in early December 2020 and that Plaintiffs should be able to obtain the records from
the State, yet counsel for the state says the State cannot locate them. We believe it is essential that we
discovery what happened to those records, whether they still exist, and if they do not, why not.

Of course, given the volume of document produced at that time, it took the Coalition Plaintiffs’
analysts and consulting experts time to process the information and develop areas of inquiry based
upon their content. These documents produced on December 8, 2021, only partially complete the
puzzle, and being able to ask questions about them and the issues they raise is essential to the
Coalition Plaintiffs’ discovery efforts. Indeed, the documents we received in that production offer
undeniable evidence of double and triple counting of votes included in the official results.

It is the Coalition’s understanding that the Rules, not the State Defendants, define the scope of what is
permissible for the deposition of an entity. The Coalition Plaintiffs are entitled to take their own
deposition of the State; they are not required by the Rules to share a deposition with the Curling
Defendants. The State Defendants’ assertion that they will not permit multiple 30(b)(6) depositions is
curious. We frankly do not care how may persons are designated as witnesses for the State, but if the
State needs to produce more than a single designee to testify on the topics set forth, then that is what
the State is obligated do.

Onr notice we served and received hv the State Defendants well ahead of the echednled dennasitinn
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and if the State needs additional time to prepare a witness for the additional topics, we are happy to
delay the taking of the deposition, provided the Court

Finally, I would note that none of this affects the scope of what Plaintiffs may ask about in the
deposition(s). The 30(b)(6) notice defines what the designee must be prepared to address; it does not
define the scope of inquiry. Plaintiffs are allowed to inquire about anything that is relevant or could
lead to the discovery of admissible evidence, regardless of what the notice sets forth.

If the Court prefers, Coalition Plaintiffs can convert this issue to a formalized discovery dispute for the
Court's consideration. If that is preferable, please advise. Thank you, Cary Ichter

Cary Ichter, Partner
Ichter Davis, LLC

3340 Peachtree Road NE
Suite 1530

Atlanta, GA 30326
phone 404.869.5243

fax 404.869.7610

cell 404.769.1353
cichter@IchterDavis.com

   

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From: Bryan Tyson <btyson @taylorenglish.com>

Sent: Friday, January 21, 2022 4:59 PM

To: Amanda Bradley <Amanda_Bradley@gand.uscourts.gov>; Cross, David D. <DCross@mofo.com>;
Gavin Palmer <Gavin_Palmer@gand.uscourts.gov>; Carey Miller <carey.miller@robbinsfirm.com>;
Alexander Denton <Alexander.Denton @robbinsfirm.com>; bbrown@brucepbrownlaw.com; Bryan
Jacoutot <bjacoutot@taylorenglish.com>; Brian Lake <Brian.Lake @robbinsfirm.com>;

cheryl.ringer@ fultoncountyga.gov; Cary Ichter <Clchter@IchterDavis.com>;

david.lowman @fultoncountyga.gov; Dal Burton <dburton @taylorenglish.com>; Diane LaRoss
<dlaross@taylorenglish.com>; Elson, Hannah R. <HElson@mofo.com>; hknapp@khlawfirm.com; James
Balli <jballi@taylorenglish.com>; Josh Belinfante <Josh.Belinfante @robbinsfirm.com>; Jonathan Crumly
<jcrumly @taylorenglish.com>; Javier Pico-Prats <javier.picoprats @ robbinsfirm.com>;

kaye. burwell@fultoncountyga.gov; Loree Anne Paradise <lparadise @taylorenglish.com>; Melanie
Johnson <melanie.johnson@robbinsfirm.com>; Kaiser, Mary <MKaiser@mofo.com>; ram@lawram.com;
sparks @khlawfirm.com; Ascarrunz, Veronica <VAscarrunz@ mofo.com>; Vincent Russo
<vrusso@robbinsfirm.com>; Conaway, Jenna B. <JConaway@mofo.com>

Cc: Harry Martin <Harry_Martin@gand.uscourts.gov>

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Ms. Bradley:

Thank you for the assistance with these depositions.
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One other issue has arisen with the Secretary’s 30(b)(6) deposition and the Coalition Plaintiffs that will
require the Court's resolution. Yesterday evening, Coalition Plaintiffs provided additional topics for the
30(b)(6) of the Secretary’s office, which was the first time the Coalition had sent topics separately from
Curling Plaintiffs. (Curling Plaintiffs take no position on this issue.) State Defendants understood Plaintiffs
would be conducting a joint deposition and do not intend to permit multiple 30(b)(6) depositions in the
same case.

State Defendants have no objection to moving forward on the notice that was previously discussed on the
schedule the Court outlined below. But if State Defendants must also prepare witnesses for the additional
topics Coalition Plaintiffs served yesterday, we will require additional time to do so. We would appreciate
direction from the Court about how to proceed.

Thanks,

Bryan

Bryan P. Tyson

Taylor English Duma LLP | 1600 Parkwood Circle, Suite 200, Atlanta, GA 30339
P: 678.336.7249 | M: 404.219.3160 | btyson@taylorenglish.com

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From: Amanda Bradley <Amanda_Bradley@gand.uscourts.gov>

Sent: Friday, January 21, 2022 2:54 PM

To: Cross, David D. <DCross@mofo.com>; Gavin Palmer <Gavin_Palmer@gand.uscourts.gov>; Carey
Miller <carey.miller@robbinsfirm.com>; Alexander Denton <Alexander.Denton @robbinsfirm.com>;
bbrown@ brucepbrownlaw.com; Bryan Jacoutot <bjacoutot@taylorenglish.com>; Brian Lake
<Brian.Lake @robbinsfirm.com>; Bryan Tyson <btyson@taylorenglish.com>;

cheryl.ringer@ fultoncountyga.gov; cichter@ichterdavis.com; david.lowman @fultoncountyga.gov; Dal
Burton <dburton@taylorenglish.com>; Diane LaRoss <dlaross @taylorenglish.com>; Elson, Hannah R.
<HElson@mofo.com>; hknapp@khlawfirm.com; James Balli <jballi@taylorenglish.com>; Josh Belinfante
<Josh.Belinfante@robbinsfirm.com>; Jonathan Crumly <jcrumly@taylorenglish.com>; Javier Pico-Prats
<javier.picoprats@robbinsfirm.com>; kaye.burwell@fultoncountyga.gov; Loree Anne Paradise
<|paradise @taylorenglish.com>; Melanie Johnson <melanie.johnson@robbinsfirm.com>; Kaiser, Mary
<MKaiser@ mofo.com>; ram@lawram.com; sparks @khlawfirm.com; Ascarrunz, Veronica
<VAscarrunz@ mofo.com>; Vincent Russo <vrusso@robbinsfirm.com>; Conaway, Jenna B.
<JConaway@mofo.com>

Ce: Harry Martin <Harry_Martin@gand.uscourts.gov>

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Counsel,

The Curling Plaintiffs and State Defendants may postpone the depositions as described in Mr. Cross’s
email.

Regards,
Amanda

Amanda D. Bradley, Esq.
